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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


In re:                                             Chapter 7

AMPAL-AMERICAN ISRAEL CORP.,                       Case No. 12-13689 (SMB)

                        Debtor.


  STIPULATION AND AGREED ORDER GRANTING MOTION FOR RELIEF FROM
            AUTOMATIC STAY, TO THE EXTENT APPLICABLE

         Alex Spizz, in his capacity as Chapter 7 trustee (the “Trustee”) in the above-captioned

bankruptcy case of Ampal-American Israel Corporation (the “Debtor”), Yosef A. Maiman, Irit

Eluz, Yoram Firon, Amit Mantsur, Nir Bernstein, Leo Malamud, Erez I. Meltzer, Sabih Saylan,

Daniel Vaknin, Menachem Morag, Eitan Haber, Yehuda Karni and Revital Degani (collectively,

the “Ampal DOs”), through their respective counsel, hereby enter into this stipulation and

agreed order (the “Stipulation and Agreed Order”) and stipulate and agree as follows:

                                           RECITALS

         WHEREAS, on August 29, 2012, the Debtor commenced a case under Chapter 11 of title

11 of the United States Code (the “Bankruptcy Code”);

         WHEREAS, certain insurance carriers (the “Carriers”) issued the following policies to

the Debtor and its insured-subsidiaries: (1) Directors and Officers Liability and Company

Reimbursement Liability Insurance Policy No: B0823FD1260067 ($10 million) (the “Primary

Policy”) issued by XL Insurance Company Limited (“XL”); (2) Excess Directors and Officers

Liability and Difference in Conditions Policy No. B0823FD1260068 ($10 million) issued by

Axis Specialty Europe Limited; (3) Excess Directors and Officers Liability and Difference in

Conditions Policy No. B0823FD1260069 ($10 million) issued by Lloyds Syndicate 1919; (4)

Excess Directors and Officers Liability and Company Reimbursement Liability Insurance Policy
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No. B0823FD1260088 ($10 million) issued by Lloyds Syndicate 2003; and (5) Excess Directors

and Officers Liability and Company Reimbursement Liability Insurance Policy No.

B0823FD1260783 ($5 million) issued by Liberty Mutual Insurance Europe Limited

(collectively, the “Policies”).

       WHEREAS, the Policies have a $45 million aggregate limit of liability, inclusive of

covered “Defence costs” as defined in the Policies (the “Defense Expenses”);

       WHEREAS, on May 2, 2013, this Court entered an Order Converting Chapter 11 Case

to Chapter 7 and for Related Relief [Docket No. 258];

       WHEREAS, on May 9, 2013, the Ampal DOs filed a Motion for Relief from the

Automatic Stay, to the Extent Applicable [Docket No. 266] (the “Motion”), to permit the Carriers

to advance Defense Expenses to the Ampal DOs1;

       WHEREAS, on May 20, 2013, the Trustee was duly elected as Chapter 7 trustee for the

Debtor;

       WHEREAS, on July 3, 2013, the Trustee filed an objection to the Motion, contending,

among other things, that the automatic stay applied to proceeds of the Policies and that a cap

should be imposed upon the advancement of Defense Expenses;

       WHEREAS, on July 18, 2013, the Ampal DOs submitted a reply in further support of the

Motion;

       WHEREAS, the Trustee and Ampal DOs (the “Parties”) have consensually agreed to

resolve the Motion on the terms set forth herein.




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       Capitalized terms used herein but not defined shall be ascribed the definitions in the Motion.



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       NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and between

the Parties, which agreement, when “so-ordered” by the Court, shall constitute an Order of the

Court, as follows:

               1.       The automatic stay imposed by 11 U.S.C. § 362(a) is hereby modified, to

the extent necessary, to allow XL to advance proceeds of the Primary Policy to Insured Persons

or their counsel for Defense Expenses (now pending or that may arise in the future), subject to

XL’s customary review of invoices submitted for payment of Defense Expenses and subject to a

full reservation of rights by all parties of all claims and defenses arising under or in connection

with the Primary Policy and/or applicable law.

               2.       All advancements made pursuant to the Primary Policy shall be subject to

a “soft cap” (the “Soft Cap”) initially set at $1,500,000; provided, that the amount of the Soft

Cap shall automatically increase to $5,000,000 in the event that any action, suit or other

proceeding is filed, commenced or otherwise initiated, in any court, tribunal or non-judicial

dispute resolution forum, against an Ampal DO, who concludes, upon advice of counsel, that

such action, suit or proceeding is covered or potentially covered under the Primary Policy.

Consistent with, but subject to the terms and conditions of the Primary Policy, such

advancements shall reduce the Primary Policy’s limit of liability.

               3.       Upon (a) agreement among the Parties, without need for further notice or

hearing or (b) further Order of this Court, the Carriers may advance proceeds of any of the

Policies for Defense Expenses, beyond the Soft Cap. The Court authorizes the Ampal DOs to

provide shortened notice, of not less than 10 days, for any such request to the Court .

               4.       Nothing herein shall (i) preclude the Carriers or any Insured Person from

seeking to increase Soft Cap or seeking an advance from proceeds of any of the Polices or




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preclude the Trustee from opposing such a request or from seeking additional protections related

to same; (ii) prejudice the arguments of the Carriers, any Insured Person or the Trustee with

respect to the Motion; (iii) constitute a waiver, modification or limitation of the Carriers’, any

Insured Person’s or the Trustee’s reservation of all rights, remedies and defenses under the

Policies, and, except as expressly provided herein, under any provision of the Bankruptcy Code

or any bankruptcy rule; (iv) constitute a finding by the Court as to whether the proceeds of any of

the Policies are, or are not, property of the Debtor’s estate or as to the applicability of the

automatic stay imposed by 11 U.S.C. § 362(a) to such proceeds; or (v) in any way expand, alter

or amend any of the terms, conditions or limitations of any of the Policies, constitute an order

requiring XL to advance Defense Expenses or constitute a finding that any sums are due and

owing under the Policies. All rights and arguments of the Carriers, any Insured Person and the

Trustee relating to the Policies are hereby expressly reserved.

                 5.      This Stipulation and Agreed Order is immediately valid and fully effective

and the 14-day stay pursuant to Fed. R. Bankr. Proc. 4001(a) is hereby deemed inapplicable

and/or waived.

                 6.      This Court shall retain jurisdiction to hear and determine all matters

arising from or related to the implementation, interpretation and/or enforcement of this

Stipulation and Agreed Order.

                          [(Remainder of the Page Left Intentionally Blank)]




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IN WITNESS WHEREOF, the Parties hereto have executed this Stipulation and Agreed Order:

NACHAMIE SPIZZ COHEN &                        KASOWITZ, BENSON, TORRES &
SERCHUK, P.C.                                 FRIEDMAN LLP


By: /s/ Janice B. Grubin                      By: /s/ Daniel A. Fliman

Alex Spizz, Esq.                              David M. Friedman, Esq.
Janice B. Grubin, Esq.                        Daniel A. Fliman, Esq.
425 Park Avenue, 5th floor                    1633 Broadway
New York, New York 10022                      New York, New York 10019
Telephone: (212) 754-9400                     Telephone: (212) 506-1700

Attorneys for Alex Spizz, Chapter 7 Trustee   Counsel for Yosef A. Maiman

COLE, SCHOTZ, MEISEL,                         CLARICK GUERON REISBAUM LLP
FORMAN & LEONARD, P.A.

By: /s/ Steven L. Klepper                     By: /s/ Nicole Gueron

Michael D. Sirota, Esq.                       Nicole Gueron, Esq.
Steven L. Klepper, Esq.                       Isaac B. Zaur, Esq.
900 Third Avenue, 16th Floor                  40 West 25th Street, 12th Floor
New York, NY 10022                            New York, NY 10010
Phone: (212) 752-8000                         Phone: (212) 633-4310

Attorneys for Irit Eluz, Yoram Firon,         Attorneys for Daniel Vaknin, Menachem
Amit Mantsur, Nir Bernstein, Leo Malamud,     Morag, Eitan Haber, Yehuda Karni and
Erez I. Meltzer and Sabih Saylan              Revital Degani


SO ORDERED


Dated: July 25th, 2013
       New York, New York
                                                         /s/ STUART M. BERNSTEIN
                                                         Honorable Stuart M. Bernstein
                                                         United States Bankruptcy Judge




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